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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF MARYLAND


  UNITED STATES OF AMERICA,
                                                       Civil Action No. ___
                         Plaintiff;
          v.
  POLICE DEPARTMENT OF BALTIMORE
  CITY
  and
  MAYOR AND CITY COUNCIL OF
  BALTIMORE,
                         Defendants.



                                         COMPLAINT

        The United States of America (“United States”) brings this action against the Police

Department of Baltimore City and the Mayor and City Council of Baltimore to remedy a pattern

or practice of conduct by law enforcement officers that deprives persons of rights, privileges, and

immunities secured and protected by the Constitution and laws of the United States. The United

States brings this action under the Violent Crime Control and Law Enforcement Act of 1994,

42 U.S.C. § 14141, Title VI of the 1964 Civil Rights Act, 42 U.S.C. § 2000d (“Title VI”), the

Omnibus Crime Control and Safe Streets Act of 1968, 42 U.S.C. § 3789d (“Safe Streets Act”),

and Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12131–12134 (“Title

II”).

                                JURISDICTION AND VENUE

    1. This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331, 1345, and 2201.




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2. The United States is authorized to initiate this suit under the Violent Crime Control and

   Law Enforcement Act of 1994, 42 U.S.C. § 14141 (“§ 14141”), Title VI of the 1964 Civil

   Rights Act, 42 U.S.C. § 2000d, the Safe Streets Act, 42 U.S.C. § 3789d, and Title II of

   the Americans with Disabilities Act, 42 U.S.C. §§ 12131–12134.

3. Under § 14141, the United States is authorized to bring suit against a state or local

   government in order to eliminate a pattern or practice of conduct by law enforcement

   officers that deprives persons of rights, privileges or immunities secured or protected by

   the Constitution or federal law.

4. The United States is authorized to enforce Title VI, which, together with relevant

   implementing regulations, prohibits discrimination on the basis of race by recipients of

   federal financial assistance.

5. The United States is authorized to enforce the Safe Streets Act, which, together with

   relevant implementing regulations, prohibits discrimination on the basis of race by

   recipients of funds from the U.S. Department of Justice.

6. The United States is authorized to enforce Title II, which requires reasonable

   modifications to avoid discrimination against individuals with disabilities.

7. Declaratory and injunctive relief is sought as authorized by § 14141, Title II, Title VI,

   and the Safe Streets Act, 28 U.S.C. §§ 2201 and 2202.

8. Venue is proper in the District of Maryland pursuant to 28 U.S.C. § 1391(b). Defendants

   are located or reside in the District of Maryland, and the events giving rise to this claim

   occurred in Baltimore, within the District of Maryland.

                                         PARTIES

9. Plaintiff is the United States of America.


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10. Defendant Police Department of Baltimore City (“BPD”) is the primary law enforcement

   agency within the City.

11. Defendant Mayor and City Council of Baltimore (“the City”) is a municipality located

   within the District of Maryland. The City of Baltimore is a local government within the

   meaning of 42 U.S.C. § 14141. The City is responsible for funding BPD and for the acts

   or omissions of BPD.

                              FACTUAL ALLEGATIONS

12. BPD is the chief law enforcement agency in Baltimore and has jurisdiction throughout

   the City.

13. BPD employs approximately 3,000 personnel, including approximately 2,600 sworn

   officers. BPD’s jurisdiction is divided geographically among nine police districts that

   include local police stationhouses, referred to as district headquarters.

14. During the course of conduct described in this Complaint, Defendants have received

   federal financial assistance from the United States Department of Justice, either directly

   or through another recipient of federal financial assistance.

15. As a condition of receiving federal financial assistance, the City and BPD certified that

   they would comply with all requirements imposed by Title VI and the federal regulations

   implementing Title VI. The assurances signed by the City bind subsequent recipients,

   including BPD to which the City disburses the funds. The City and BPD are responsible

   for ensuring that BPD complies with the requirements of Title VI and its implementing

   regulations.




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16. During the course of conduct described in this Complaint, Defendants have received

   funds from the Office of Justice Programs (“OJP”) that are subject to the requirements of

   the Safe Streets Act.

17. As a condition of receiving OJP grants, the City and BPD certified that they would

   comply with all requirements imposed by the Safe Streets Act.

18. There is longstanding recognition of the need to reform BPD to ensure that BPD officers

   do not violate the constitutional rights of City residents.

19. In the late 1990s, BPD adopted zero tolerance policing strategies that prioritized officers

   making large numbers of stops, searches, and arrests for misdemeanor offenses without

   ensuring robust oversight to hold officers accountable for misconduct and protect the

   constitutional rights of City residents. Current BPD Commissioner Kevin Davis and his

   predecessor, Anthony W. Batts, have both acknowledged publicly that this approach

   eroded community trust and impeded efforts to build partnerships that are central to

   effective policing.

20. Following the April 2015 death of Freddie Gray in police custody, Baltimore Mayor

   Stephanie Rawlings-Blake asked the United States Department of Justice, Civil Rights

   Division, to conduct a pattern-or-practice investigation of BPD’s police practices. The

   Civil Rights Division announced that it would conduct a pattern-or-practice investigation

   on May 8, 2015, and issued a Findings Report on August 10, 2016.

21. BPD engages in a pattern or practice of conduct that violates the Constitution and federal

   laws. These violations include the following:

       a. Making unconstitutional stops, searches, and arrests, in violation of the Fourth

           and Fourteenth Amendments;


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        b. Using excessive force, in violation of the Fourth Amendment.

        c. Retaliating against individuals engaging in constitutionally-protected expression,

           in violation of the First Amendment.

        d. Using enforcement strategies that disproportionately impact African Americans,

           in violation of Title VI, the Title VI implementing regulations, 28 C.F.R.

           §§ 42.101-112, and the Safe Streets Act and its implementing regulations.

        e. Failing to make reasonable modifications to their practices regarding the use of

           force against individuals with disabilities, in violation of Title II.

22. BPD’s violations of the Constitution and federal law are driven by BPD’s practices –

   systemic deficiencies in policies, training, supervision, and accountability structures.

   Defendants have been aware of these structural challenges for many years, but have not

   taken adequate steps to comply with the Constitution and federal law.

   A.      Defendants’ Unconstitutional Stops, Searches, and Arrests

23. BPD engages in a pattern or practice of making unlawful stops, searches, and arrests in

   violation of the Fourth and Fourteenth Amendments.

24. BPD officers engage in a pattern of making stops without the individualized, reasonable

   suspicion of wrongdoing required by the Fourth Amendment. Officers frequently make

   stops without identifying reasonable suspicion, including stopping individuals standing

   on sidewalks or street corners without any indication that the individuals are connected to

   unlawful activity.

25. Only a small fraction of BPD’s stops uncover involvement in criminal activity and result

   in a citation or arrest. BPD officers issued a criminal citation or made an arrest in only

   3.7 percent of the more than 300,000 pedestrian stops documented from 2010-2015.


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26. During stops, BPD officers conduct searches without probable cause and weapons frisks

   without reasonable suspicion that a person is armed.

27. BPD officers also conduct unconstitutional strip searches. In some cases, BPD has

   conducted strip searches prior to arrest, without any exigent circumstances requiring the

   search, and/or in public view.

28. BPD makes arrests that are not supported by probable cause. From November 2010–July

   2015, supervisors at Baltimore’s Central Booking released 6,736 arrestees without

   charge. Prosecutors from the State’s Attorney’s Office declined to charge an additional

   1,983 cases because the underlying arrests lacked probable cause.

29. In other cases, BPD detains individuals for significant periods of time for investigation

   without having the probable cause required to do so.

30. BPD likewise makes unconstitutional arrests pursuant to City ordinances banning

   trespassing and loitering. BPD applies these ordinances in a manner that violates the

   Fourteenth Amendment’s Due Process Clause. BPD arrests individuals for “trespassing,”

   “loitering,” or failing to obey an officer’s instruction to stop trespassing or loitering,

   where the arrested individuals are merely standing on public streets or sidewalks near

   publicly-owned property or private businesses.



   B.      Defendants’ Discriminatory Policing

31. BPD engages in a pattern or practice of discrimination, through its use of enforcement

   strategies and other practices, that violate Title VI and the Safe Streets Act, which

   prohibit police practices that create an unjustified disparate impact based on race and

   other demographic factors.


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32. For many years, BPD has employed policing strategies in certain Baltimore

   neighborhoods that emphasize officers making large numbers of stops, searches, and

   arrests, often for non-violent misdemeanor offenses, and with minimal supervisory

   review. These tactics disproportionately impact African Americans.

33. BPD stops African Americans at higher rates than people of other racial backgrounds in

   each of its nine police districts.

34. During stops, BPD searches African Americans more often than similarly-situated non-

   African Americans, even though searches of African Americans were less likely to find

   contraband. Racial disparities in search rates persist after controlling for non-racial

   factors relevant to whether an officer conducts a search. These rates indicate that officers

   apply a lower threshold of suspicion when deciding to search African Americans during

   pedestrian and vehicle stops.

35. There are also racial disparities in BPD’s warrantless arrests for misdemeanor offenses,

   including disorderly conduct, making a false statement, hindering or obstruction, and

   misdemeanor trespassing. For each of these offenses, BPD arrests African Americans at

   disproportionate rates and reviewing officials are more likely to decline charges filed

   against African American arrestees.

36. BPD disproportionately arrests African Americans for drug possession offenses

   compared to similarly situated people of other racial backgrounds. BPD charges African

   Americans for drug possession offenses at approximately five times the rate it files drug

   charges against people from other racial backgrounds. This difference is not attributable

   to differences in drug usage rates among different racial groups.




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37. These racial disparities are driven in part by deficient policies, training, supervision, and

   accountability.

38. BPD did not institute a “Fair and Impartial Policing” policy until 2015, leaving officers

   without guidance on how to lawfully perform their duties in an impartial manner. In

   some cases, BPD supervisors have encouraged racial profiling directly.

39. BPD officers have also used racial slurs and other derogatory language to address or refer

   to African Americans. When BPD has received complaints about such conduct, it has

   often misclassified or failed to investigate them.

40. In many cases, BPD investigators make comments during sexual assault investigations

   showing undue skepticism of victims’ accounts and fail to collect available evidence that

   could corroborate them.

   C.      Defendants’ Use of Excessive Force

41. BPD engages in a pattern or practice of using force that is objectively unreasonable under

   the circumstances in which the force is applied, including the threat posed by the suspect

   and the severity of the alleged underlying crime, in violation of the Fourth Amendment.

        a) BPD uses ineffective tactics that escalate encounters, leading to the use of

           physical force when it is not necessary to resolve an incident.

        b) BPD uses unreasonable force against people who present little or no threat to

           them or others. For example, officers have used unreasonable force against

           individuals who are already restrained or who are fleeing away from officers.

        c) BPD uses unreasonable force against juveniles without applying accepted tactics

           to account for the age and developmental status of the youth they encounter.

        d) BPD uses unreasonable force against individuals with mental health disabilities.


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       e) In the use of force against individuals with mental health disabilities, BPD

           officers fail to make reasonable modifications necessary to avoid discrimination

           in violation of Title II of the Americans with Disabilities Act.

       f) BPD also use unreasonable force against individuals in crisis.

       g) BPD frequently escalates encounters with unarmed individuals with mental health

           disabilities and those in crisis, resulting in officers using unreasonable force.

           When responding to calls to escort individuals to the hospital for mental health

           treatment, BPD officers often use force if the individual does not follow officers’

           commands, even though the individuals have committed no crime and present no

           significant threat to officers or other members of the public.

       h) BPD also subjects individuals to significant risk of harm by using deficient

           practices for transporting them.

       i) BPD has not consistently secured detainees transported in vans or monitored

           detainees during transport. For example, a 2012 BPD audit found that none of the

           34 arrestees were secured with seatbelts.

       j) BPD’s failure to secure detainees during transport has resulted in serious injuries

           and death.

42. The repeated use of unreasonable force against individuals with mental health disabilities

   reveals that BPD fails to make reasonable modifications necessary to avoid

   discrimination in violation of Title II of the Americans with Disabilities Act.

43. Under the ADA, training BPD officers on how to interact with individuals with mental

   health disabilities is a reasonable modification to policies, practices, and procedures to

   afford people with mental health disabilities the equal opportunity for a police


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   intervention that is free from unreasonable force. BPD has failed to provide the

   necessary training, however, resulting in BPD officers often resorting too quickly to

   using force against individuals with mental health disabilities.

   D.      Defendants Retaliate Against Individuals Who Engage in Constitutionally-
           Protected Speech

44. BPD arrests, detains, uses force, and otherwise retaliates against individuals who criticize

   BPD or engage in other constitutionally-protected expression.

45. BPD stops and arrests individuals for speech that officers perceive to be rude, critical, or

   disrespectful.

46. In addition, BPD interferes with individuals attempting to lawfully record police activity.

   BPD officers seize recording devices without a warrant or probable cause, order

   individuals to stop recording, and retaliate against individuals filming police activity.

   E.      BPD’s Violations of the Constitution and Federal Law Are Rooted in
           Systemic Deficiencies in Supervision and Accountability

47. Defendants’ use deficient policies, training, supervision, and accountability systems

   contributes to BPD’s violations of the Constitution and federal law. Defendants have

   been on notice of these deficiencies for years, but have not implemented sufficient

   reforms to ensure constitutional policing.

48. Defendants fail to supervise officers effectively or hold them accountable for misconduct,

   contributing to a pattern of police actions that violate the Constitution and federal law.

49. BPD fails to adequately train and supervise its officers. This deficiency manifests itself

   in multiple ways, including a failure to guide officer activity through effective policies

   and training; a failure to collect and analyze reliable data to supervise officer enforcement

   activities; and the lack of a meaningful early intervention system to identify officers who


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   may benefit from additional training or other guidance to ensure that they do not commit

   constitutional violations.

50. BPD’s accountability systems are not sufficient to deter misconduct. BPD does not

   consistently classify, investigate, adjudicate, and document complaints of misconduct.

51. In some cases, BPD improperly classifies complaints as alleging only minimal

   misconduct, resulting in minimal investigation and accountability.

52. BPD also lacks external oversight to curb its pattern or practice of unconstitutional

   policing. The City-funded Civilian Review Board (“CRB”) has statutory authority to

   investigate certain types of complaints and make non-binding recommendations to BPD,

   but the CRB lacks sufficient authority, staff, and funding to provide meaningful oversight

   and accountability.

53. Together, these failures prevent BPD from deterring, identifying, and correcting

   misconduct that contributes to a pattern or practice of violating the Constitution and

   federal laws.



                                FIRST CLAIM FOR RELIEF

       DEFENDANTS’ PATTERN OR PRACTICE OF CONDUCT DEPRIVES
    INDIVIDUALS OF RIGHTS, PRIVILEGES, AND IMMUNITIES SECURED BY
           THE FIRST, FOURTH, AND FOURTEENTH AMENDMENTS
             TITLE II, TITLE VI, AND THE SAFE STREETS ACT,
                         IN VIOLATION OF § 14141

54. The United States re-alleges and incorporates by reference all the allegations set forth

   above.

55. The First Amendment to the United States Constitution, applied to the states through the

   Fourteenth Amendment, provides in pertinent part that “Congress shall make no law . . .


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   abridging the freedom of speech, or of the press; or the right of the people peaceably to

   assemble . . . .”

56. The Fourth Amendment to the United States Constitution provides that “[t]he right of the

   people to be secure in their persons, house, papers, and effects, against unreasonable

   searches and seizures, shall not be violated, and no Warrants shall issue, but upon

   probable cause, supported by Oath or affirmation, and particularly describing the place to

   be searched, and the persons or things to be seized.”

57. Section II of the Fourteenth Amendment provides that “[n]o state shall . . . deprive any

   person of life, liberty, or property, without due process of law; nor deny any person

   within its jurisdiction equal protection of the laws.”

58. Title II of the Americans with Disabilities Act provides that “no qualified individual with

   a disability shall, by reason of such disability, be excluded from participation in or be

   denied the benefits of the services, programs, or activities of a public entity, or be

   subjected to discrimination by any such entity.” Defendants are public entities subject to

   Title II of the ADA, 42 U.S.C. § 12131(1). Defendants violate the ADA by repeatedly

   failing to make reasonable modifications necessary to avoid discrimination against

   individuals with mental health disabilities.

59. Title VI of the Civil Rights Act of 1964 provides that “[n]o person in the United States

   shall, on the ground of race, color, or national origin, be excluded from participation in,

   be denied the benefits of, or be subjected to discrimination under any program or activity

   receiving Federal financial assistance.” Defendants receive federal financial assistance

   and are subject to Title VI requirements.




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60. The Safe Streets Act provides that “[n]o person in any State shall on the ground of race,

   color, religion, national origin, or sex be excluded from participation in, be denied the

   benefits of, or be subjected to discrimination under or denied employment in connection

   with any programs or activity funded in whole or in part with funds made available under

   this title.” Defendants receive funding from the U.S. Department of Justice and is subject

   to the Safe Streets Act requirements.

61. By the actions set forth above, Defendants and their agents, including BPD officers, have

   engaged and continue to engage in a pattern or practice of conduct that deprives persons

   of rights, privileges, or immunities secured or protected by the First, Fourth, and

   Fourteenth Amendments to the United States Constitution, Title II of the Americans with

   Disabilities Act, Title VI of the Civil Rights Act of 1964, and the Safe Streets Act, in

   violation of 42 U.S.C. § 14141.

62. Unless restrained by this Court, Defendants will continue to engage in the

   unconstitutional and illegal conduct alleged herein, or other similar unconstitutional or

   illegal conduct, causing irreparable harm to the people of Baltimore.

                                SECOND CLAIM FOR RELIEF

       DEFENDANTS’ LAW ENFORCEMENT ACTIVITIES VIOLATE TITLE VI

63. The United States re-alleges and incorporates by reference all the allegations set forth

   above.

64. Title VI provides that “[n]o person in the United States shall, on the ground of race,

   color, or national origin, be excluded from participation in, be denied the benefits of, or

   be subjected to discrimination under any program or activity receiving Federal financial

   assistance.”


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65. Defendants received and continue to receive federal financial assistance for its programs

   and activities that are subject to the requirements of Title VI and its implementing

   regulations.

66. Defendants have engaged in law enforcement practices, including stops, searches, arrests,

   and uses of force, that have an adverse disparate impact on African Americans and that

   are unnecessary to achieve non-discriminatory objectives.

67. The United States has determined that all administrative requirements have been

   exhausted and that securing compliance from the Defendants cannot be achieved without

   a court order.

68. Defendants’ discriminatory law enforcement practices violate Title VI.

                                 THIRD CLAIM FOR RELIEF

              DEFENDANTS’ LAW ENFORCEMENT ACTVITIES VIOLATE
                           THE SAFE STREETS ACT

69. The United States re-alleges and incorporates by reference all the allegations set forth

   above.

70. The Safe Streets Act provides that “[n]o person in any State shall on the ground of race,

   color, religion, national origin, or sex be excluded from participation in, be denied the

   benefits of, or be subjected to discrimination under or denied employment in connection

   with any programs or activity funded in whole or in part with funds made available under

   this title.”

71. Defendants received and continue to receive funds from the Office of Justice Programs

   that are subject to the Safe Streets Act.




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72. Defendants have engaged in a pattern or practice of law enforcement practices, including

   stops, searches, arrests, and uses of force, that have an adverse disparate impact on

   African Americans and that are unnecessary to achieve non-discriminatory objectives.

73. The United States has determined that all administrative requirements have been

   exhausted and that securing compliance from the Defendants cannot be achieved without

   a court order.

74. Defendants’ discriminatory law enforcement practices violate the Safe Streets Act.

                               FOURTH CLAIM FOR RELIEF

                        DEFENDANTS VIOLATE TITLE II OF THE
                         AMERICANS WITH DISABILITIES ACT

75. The United States re-alleges and incorporates by reference all the allegations set forth

   above.

76. Title II of the Americans with Disabilities Act provides that “no qualified individual with

   a disability shall, by reason of such disability, be excluded from participation in or be

   denied the benefits of the services, programs, or activities of a public entity, or be

   subjected to discrimination by any such entity.”

77. Defendants are public entities subject to Title II of the ADA, 42 U.S.C. § 12131(1).

78. Defendants repeatedly fail to make reasonable modifications necessary to avoid

   discrimination against individuals with mental health disabilities.

79. The United States has determined that all administrative requirements have been

   exhausted and that securing compliance from the Defendants cannot be achieved without

   a court order.

80. Defendants’ actions constitute discrimination in violation of Title II of the ADA,

   42 U.SC. § 12132, and its implementing regulations, 28 C.F.R. 35.

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                                     PRAYER FOR RELIEF

81. WHEREFORE, the United States asks that the Court:

      a. Declare that Defendants, their officers, agents, and employees have engaged in a

          pattern or practice of conduct that deprives persons of rights, privileges, or

          immunities secured or protected by the Constitution or laws of the United States,

          in violation of § 14141;

      b. Declare that Defendants, their officers, agents, and employees have violated

          Title VI;

      c. Declare that Defendants, their officers, agents, and employees have violated the

          Safe Streets Act;

      d. Declare that Defendants, their officers, agents, and employees have violated

          Title II of the ADA;

      e. Enjoin Defendants, their officers, agents, and employees from engaging in any of

          the predicate acts forming the basis of the pattern or practice of conduct and

          violations of Title VI and the Safe Streets Act;

      f. Order Defendants, their officers, agents, and employees to adopt and implement

          policies, training, accountability systems, and practices to remedy the

          constitutional and statutory violations described herein, and to prevent

          Defendants, their officers, agents, and employees from depriving persons of

          rights, privileges, or immunities secured or protected by the Constitution or laws

          of the United States; and

      g. Order such other appropriate relief as the interests of justice may require.




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